
USCA1 Opinion

	













                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 94-2089

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                    JOSEPH WRENN,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________
                                 ____________________


            Robert  L. Sheketoff, with  whom Sheketoff  &amp; Homan  was on brief,
            ____________________             __________________
        for appellant.
            Dina Michael  Chaitowitz, Assistant  United States Attorney,  with
            ________________________
        whom Donald K.  Stern, United States Attorney,  was on brief, for  the
             ________________
        United States.

                                 ____________________

                                  September 25, 1995
                                 ____________________




















                      LYNCH, Circuit Judge.  After  pleading  guilty   to
                      LYNCH, Circuit Judge.
                             _____________

            both  conspiring and  attempting  to possess  with intent  to

            distribute more than  5 kilograms of cocaine  in violation of

            21 U.S.C.   846, the defendant Joseph Wrenn was sentenced  to

            the statutory  minimum of  10 years  prescribed by  21 U.S.C.

              841(b)(1)(A)(ii).   At  issue  here  is the  meaning  of  a

            provision in  the Violent  Crime Control and  Law Enforcement

            Act of  1994  (the "Act"),  18  U.S.C.   3553(f),  which,  in

            certain circumstances,  gives  the trial  court authority  to

            impose  a  sentence  shorter  than  the  otherwise  mandatory

            minimum sentence.

                      Wrenn  argues that  the  district  court  erred  in

            finding he was not entitled  under the Act to a  reduction of

            the 10  year mandatory minimum  sentence he received  for his

            drug convictions.  We reject Wrenn's contentions that  he has

            complied with  the Act's requirement that  he "has truthfully

            provided to the Government  all information and evidence [he]

            has  concerning the offense or offenses that were part of the

            same course of conduct or of a common scheme or plan . . . ."

            18  U.S.C.     3553(f)(5).     He  says  he   has  done   so,

            unintentionally to be sure,  by unwittingly being recorded by

            an undercover agent while  discussing his plans to distribute

            cocaine,  conversations  which  became  the  source   of  the

            indictment  against him.   He  also says  he  has done  so by

            admitting  the  government's allegations  in  the context  of



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            pleading  guilty  to  the  charges against  him.    Believing

            Congress did  not intend the topsy-turvy  result suggested by

            Wrenn, we reject his arguments and affirm.

                      Section   3553(f)   provides   some   relief   from

            statutorily-imposed  mandatory  minimum  sentences where  the

            defendant demonstrates:

                      (1)  the  defendant  does  not  have  more  than  1
                           criminal  history  point, as  determined under
                           the sentencing guidelines; 

                      (2)  the defendant did not use violence or credible
                           threats of  violence or  possess a  firearm or
                           other  dangerous  weapon  (or  induce  another
                           participant to  do so) in connection  with the
                           offense;

                      (3)  the offense did not result in death or serious
                           bodily injury to any person;

                      (4)  the  defendant was  not an  organizer, leader,
                           manager,  or  supervisor  of  others   in  the
                           offense,  as  determined under  the sentencing
                           guidelines and was not engaged in a continuing
                           criminal  enterprise, as defined  in 21 U.S.C.
                           848; and

                      (5)  not  later than  the  time of  the  sentencing
                           hearing, the defendant has truthfully provided
                           to the Government all information and evidence
                           the  defendant has  concerning the  offense or
                           offenses that were part  of the same course of
                           conduct or of a common scheme or plan, but the
                           fact  that the  defendant has  no relevant  or
                           useful  other information  to provide  or that
                           the  Government   is  already  aware   of  the
                           information shall not preclude a determination
                           by the court  that the defendant has  complied
                           with this requirement.

            18 U.S.C.   3553(f).

                      The  drug trade  operated  out  of federal  prisons

            provides  the factual  backdrop of  this case.   Wrenn's  co-


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            defendant,  Joseph  Burke, while  incarcerated at  the United

            States Penitentiary at Lewisburg, asked a fellow inmate if he

            could provide  Wrenn with a  large supply of  cocaine, saying

            Wrenn was a cocaine distributor in Massachusetts.  The  other

            inmate became  a cooperating witness  and turned to  the FBI,

            which,   in  turn,   provided  an   undercover  agent/cocaine

            supplier.   The  agent, the  cooperating witness,  Burke, and

            Wrenn met in the  visiting area of the penitentiary.  In that

            and another  meeting,  which were  both tape-recorded,  Wrenn

            described himself as a large-scale cocaine trafficker looking

            for a new source of supply.  Wrenn said that he and Burke saw

            opportunities  to  expand  their business  because  of recent

            federal   indictments   of   individuals    in   Charlestown,

            Massachusetts.

                      It is  those tape-recorded discussions    conducted

            before Wrenn actually made  the buy and was arrested    which

            form the factual  basis for  his claim that  he provided  the

            government   with  all  of  the  information  concerning  his

            criminal conduct contemplated by 18 U.S.C   3553(f)(5).

                      Wrenn presents  the issue  on appeal  as concerning

            interpretation of  the phrase "offense or  offenses that were

            part of the  same course of  conduct or of  a common plan  or

            scheme" in  subsection (f)(5),  and contends that  the phrase

            refers only to offenses charged in the indictment, as opposed

            to all criminal activity in which the defendant engaged.  But



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            there  is,  as the  government  urges, a  threshold  issue of

            whether  "the  defendant  has  truthfully  provided   to  the
                                                       ________

            Government  all   information  and  evidence   the  defendant

            has. . . ."  18 U.S.C.   3553(f)(5) (emphasis added).  Review

            of this issue of statutory interpretation is plenary.  United
                                                                   ______

            States  v. Holmquist, 36 F.3d 154, 158 (1st Cir. 1994), cert.
            ______     _________                                    _____

            denied, 115 S. Ct. 1797 (1995).
            ______

                      Wrenn   argues   that   he   has   "provided"  such

            information, albeit inadvertently, in his taped conversations

            setting up the  drug deal.   He argues  additionally that  in

            admitting to  the facts  presented by the  government in  the

            guilty  plea   hearing,  he  again  fulfilled  the  statute's

            requirements.  To make  him sit down with the  government and

            say again what he has twice  said before would, he argues, be

            nonsensical.   But the interpretation Wrenn  urges would lead

            to  absurd consequences.    Surely, Congress  could not  have

            intended that the very commission  of a criminal offense,  if

            recorded  by a  government agent,  would protect  a defendant

            from  the  mandatory minimum  sentence for  that crime.   Nor

            could  Congress have  intended that  entry  of a  guilty plea

            would  provide such  protection.   As the  Supreme Court  has

            said, "We need  not leave  our common sense  at the  doorstep

            when we interpret  a statute."  Price  Waterhouse v. Hopkins,
                                            _________________    _______

            490 U.S. 228, 241 (1989).





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                      Whatever   the  scope   of  the   "information  and

            evidence"  that a defendant must provide to take advantage of

            section 3553(f)(5),  we   hold  that  a   defendant  has  not

            "provided" to the government such information and evidence if

            the sole manner in which  the claimed disclosure occurred was

            through  conversations   conducted  in  furtherance   of  the

            defendant's  criminal  conduct  which happened  to  be  tape-

            recorded by the government as part of its investigation.  Cf.
                                                                      ___

            United  States v. Rodriguez, 60 F.3d 193, 196 (5th Cir. 1995)
            ______________    _________

            (provision  of  information  to  probation  officer  is   not

            provision of  information to  the government for  purposes of

            section 3553(f)(5)).   Nor does it suffice  for the defendant

            to  accede to  the government's  allegations during  colloquy

            with  the court  at  the plea  hearing.   Section  3553(f)(5)

            contemplates  an  affirmative  act  of cooperation  with  the

            government no later  than the time of the sentencing hearing.

            Here, Wrenn did not cooperate,  as his counsel emphasized  to

            the  court at  the sentencing  hearing.   And when  the court

            offered to postpone sentencing so Wrenn  could make a proffer

            to  the government  for  purposes  of section 3553(f)(5),  he

            refused.

                      Even  taking  the defendant's  argument on  its own

            terms,  we reject  also  the factual  premise  from which  it

            proceeds.  Wrenn did  not provide the government with  all of
                                                                   ___

            the information and evidence he had concerning the very crime



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            to which he pleaded guilty.  To give but one  example, in his

            taped conversations  he claimed  to have numbers  of reliable

            customers to whom he supplied cocaine, but he supplied nary a

            name to the government.

                      Finally, the government urges us to decide here the

            scope  of the phrase "offense  or offenses that  were part of

            the same course of  conduct or of  a common scheme or  plan."

            18  U.S.C.    3553(f)(5).     We  note  that  the  Sentencing

            Commission  amended the  Guidelines to  conform with  the Act

            after  sentence  was  imposed in  this  case.   See  U.S.S.G.
                                                            ___

              5C1.2 (Nov. 1994).   Application note 3 to    5C1.2 defines

            the phrase highlighted by the government to mean "the offense

            of conviction  and all relevant conduct."   U.S.S.G.   5C1.2,

            comment.  (n.3).   Apart  from  making  this observation,  we

            decline the government's invitation, believing  the matter is

            better  left to  a  case where  a  fuller resolution  of  the

            question is necessary.

                      The sentence is affirmed.
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